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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

No. 19-MJ-06134-MPK


                                UNITED STATES OF AMERICA

                                                 v.

                                         PAUL VOTANO


                              ORDER ON DETENTION MOTION

KELLEY, M.J.

       The defendant had an initial appearance on June 7, 2019 on the above-numbered

complaint. The government moved for detention. Represented by counsel, defendant waived a

detention hearing without prejudice. He is presently awaiting trial in state custody. The court

will therefore continue the detention hearing in the instant case until such time as the defendant

is released from state custody in accord with the protocol set forth in United States v. King, 818

F.2d 112, 115, n. 3 (1st Cir. 1987).

       Thus, it is ORDERED that: (1) the detention hearing is continued generally; (2) the

defendant is DETAINED pending the detention hearing, see 18 U.S.C. § 3142 ("During a

continuance, the defendant shall be detained. . . ."); and (3) the U.S. Marshal lodge a detainer

against the defendant with the state authorities on the basis of this Order.




                                                      /s/ Page Kelley
                                                      Page Kelley
                                                      UNITED STATES MAGISTRATE JUDGE
Date: June 7, 2019
